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IN THE UNITED STATES BANKRUPTCY COURT

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FOR THE DISTRICT OF DELAWARE oe 28
IN RE: Chapter 11
AMERICAN HOME MORTGAGE Case No. 07-11047 (CSS)

HOLDINGS, INC., et al
A Delaware corporation
Debtors

Claimant’s Opposition to Notice of Plan Trust’s Omnibus Objection to (1) Motion for
Judgment as a Matter of Law of Administrative Claim Entered, (II) Motion for Allowance
and Payment of Administrative Calim With Brief in Support; and (III) Calims Numbered

10870, 10875 and 10887: With Claimant’s Motion to Continue

Comes now Hussain Kareem, Creditor/Claimant enters his Opposition in brevity his
entire opposition and objection to as entered by Steven D. Stass Trustee (the Plan Trustee) for

reasons to wit:

Summary of Facts to be Determined
1.

The claimant received this notice on or about October 1, 2011 (See Exhibit A Fed
Express Package date stamped for September 30, 2011). Claimant has had less than seven (7)
days to review, respond and defend. In contrast, the Debtors have had several motions filed and
adequate time to prepare their responses since January 5" 2011. Claimant is asking for
appropriate leniency and fairness by which he puts forth reasons that the Hearing granted for

October 7”, 2011, would not be in the interest of justice. Claimant reasons below:

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Claimant has not been given proper due process to respond or oppose Motions entered by the
Debtors or by the Plan Trustee. Exhibits A show that Documents were received on after
September 30, 2011. This calculates that less than 7 days is given to appear before this court

without any consideration for other schedule conflicts that prohibits Claimant from participating.

The Motion entered to shorten the time for the hearing was not done by mutual agreement. If
such hearing is held, Mr. Kareem would be deprived of his substantive rights. He would not
have the appropriate time to prepare and meet his burden to address each of the debtor’s
objections. Claimant is therefore concerned that the notice is inappropriate and due process need

to be given fully prepared to oppose the objections entered against his claims.

4.
To be determined is if this court may modify, amend or reconsider its order affecting Rule 9006-

1 Time for Service and Filing of Motions and Objections, which provides,

“All Other Motions.

(i) Service of Motion Papers. Unless the Fed. R. Bankr. P.
or these Local Rules state otherwise, all motion papers
shall be filed and served in accordance with Local Rule
2002-1(b) at least fifteen (15) days (eighteen (18) days

if service is by mail; sixteen (16) days if service is

by overnight delivery) prior to the hearing date.

(ii) Objection Deadlines. Where a motion is filed and served
in accordance with Local Rule 9006-1(c)(i), the

deadline for objection(s) shall be no later than five

(5) days before the hearing date. To the extent a motion

is filed and served in accordance with Local Rule
2002-1(b) at least twenty-three (23) days prior to the
hearing date, however, the movant may establish any
objection deadline that is no earlier than eighteen (18)

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days after the date of service and no later than five

(5) days before the hearing date. Any objection
deadline may be extended by agreement of the movant;
provided, however, that no objection deadline may
extend beyond the deadline for filing the agenda. In

all instances, any objection must be filed and served

so as to be received on or before the applicable
objection deadline.

(d) Reply Papers. Reply papers may be filed and, if filed, shall
be served so as to be received by 4:00 p.m. prevailing Eastern
Time the day prior to the deadline for filing the agenda.

(e) Shortened Notice. No motion will be scheduled on less notice
than required by these Local Rules or the Fed. R. Bankr. P.
except by order of the Court, on written motion (served on all
interested parties) specifying the exigencies justifying

shortened notice. The Court will rule on such motion promptly
without need for a hearing.”

5.

Claimant reasons that he has timely entered his objection within 5 days of receiving the notice
and that he has schedule conflicts that prevent him from participating in the hearing. The
Telephonic Hearing, is not an adequate option and the complexity of the case requires a full
evidentiary hearing. He does not have electronic filing as a method for him to respond, so he

only has the mail to use to timely enter his responses.

6.
Claimant opposes to and objects to all of Debtors inferences and particularly to the facts that

related to the following:
a. TILA rescission,
b. RESPA findings by the Department of HUD
c. His claim was not entered for about $19,000, but for $250, 000.00,

d. Claimant needs more time to explain his claims against the objections in detail.

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e. There is no need to seal the hearing nor to shorten the time, so he opposes such motion.

7.
Summary and Conclusion

For reasons cited above in paragraphs | through 6, and for other motions entered

previously in this court, Claimant seeks the following relief deemed to be reasonable before this

honorable court:

1. Grant Claimant’s Motion for Continuance on the Hearing to reschedule it in 30 days from

the date of receipt of notice from Debtors or thereafter.

2. Allow Claimant, is pro se, and needs time to seek counsel because the issues are

complex.

3. Accept Claimants entry of objection until a more complete opposition and objection can
be entered. Noticeably, there are significant evidentiary details that show that conflict in
the securitization purchase made by Debtors. Claimant ask for the customary time to

present such evidence for determination of wrong doings and right of claims.

4. This court to reconsider, amend or change its order as stated for reasons cited hereinto.

Claimant sayeth no more.
With all due respects to this Court,

Submitteg on or about October 4th, 2011.

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v
Hussain Kareem, Pro Se , A.R.R.

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